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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  FERYAL MOHAMMAD and
  WAJDAN MOHAMMAD,

                 Plaintiffs,
    v.                                                             Case No. 1:18-cv-23330-MGC

  BANK OF AMERICA, N.A.,

                 Defendant.
                                        /

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs,

  FERYAL MOHAMMAD and WAJDAN MOHAMMAD, hereby dismiss the above-entitled

  action and all claims asserted in the action against Defendant, BANK OF AMERICA, N.A., with

  prejudice. The parties agree to bear their own fees and costs.

    Respectfully Submitted,                           Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 18th day of December, 2018, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties either via transmission
  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing,
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                                                       /s/ Christopher W. Boss
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